                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                  No. 5:22-CV-00518-BO

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )
                                               )
                V.                             )   STIPULATED ORDER FOR PERMANENT
                                               )     INJUNCTION AND CIVIL PENAL TY
 EPIC GAMES, INC. ,                            )              JUDGMENT
                                               )
        Defendant.                             )

       Plaintiff, the United States of America, acting upon notification and authorization

to the Attorney General by the Federal Trade Commission ("Commission" or "FTC"),

filed its Complaint for Civil Penalties, Permanent Injunction, and Other Relief

("Complaint"), for a permanent injunction, civil penalties, and other relief in this matter,

pursuant to Sections 13(b), 16(a)(l), and 19 of the Federal Trade Commission Act ("FTC

Act"), 15 U.S.C. §§ 53(b), 56(a)(l), and 57(b), the Children' s Online Privacy Protection

Act, 15 U.S.C. §§ 6502(c) and 6505(d), and the Commission' s Children's Online Privacy

Protection Rule ("COPPA Rule"), 16 C.F.R. Part 312. Defendant has waived service of

the summons and the Complaint. Plaintiff and Defendant stipulate to the entry of this

Stipulated Order for Permanent Injunction and Civil Penalty Judgment ("Order") to

resolve all matters in dispute in this action between them.

       THEREFORE, IT IS ORDERED as follows:

                                        FINDINGS

       1.      This Court has jurisdiction over this matter.




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       2.     The Complaint charges that Defendant violated the COPPA Rule and the

FTC Act by developing and operating an Internet-enable         ·deo game with unfair default

information sharing settings for Children and Teens; by failing to provide notice on

Defendant' s website or online service, and direct notice to Parents, of the Personal

Information Defendant Collects online from Children, how Defendant uses such

information, and Defendant' s Disclosure practices; by failing to Obtain Verifiable

Parental Consent before any Collection or use of Personal Information from Children; by

failing to provide, at the request of Parents, a description of the specific types or

categories of Personal Information Collected from Children; and by failing to Delete, at

the request of Parents, Personal Information Collected from Children.

       3.     Defendant neither admits nor denies any of the allegations in the

Complaint, except as specifically stated in this Order. Only for purposes of this action,

Defendant admits the facts necessary to establish jurisdiction.

       4.     Defendant waives any claim that it may have under the Equal Access to

Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this action through the date

of this Order, and agree to bear their own costs and attorney fees.

       5.     Defendant waives all rights to appeal or otherwise challenge or contest the

validity of this Order.

                                      DEFINITIONS

       For the purpose of this Order, the following definitions apply:

       A.     "Affirmative Express Consent" means any freely given, specific,

              inforn1ed, and unambiguous indication of an individual ' s wishes

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       demonstrating agreement by the individual, such as by a clear affirmati ve

       action, fo fowing a Clear c:irrdConspicuous disclosure to the· individual of:

       (i) all information required by sub-Provision III.C; (ii) a simple, easily-

       located means for the individual to withdraw consent; (iii) any limitations

       on the individual ' s ability to withdraw such consent; and (iv) all other

       information material to the provision of consent. The Clear and

       Conspicuous disclosure must be separate from any "privacy policy," "terms

       of service," "terms of use," or other similar document. The following do

       not constitute Affirmative Express Consent:

       1. Inferring consent from the hovering over, muting, pausing, or closing of

          a given piece of content by the consumer; or

       2. Obtaining consent through a user interface that has the effect of

          subverting or impairing user autonomy, decision-making, or choice.

 B.    "Biometric Information" means data that depicts or describes the physical

       or biological traits of an identified or identifiable individual, including: ( 1)

       identifiable depictions or identifiable information derived therefrom (e.g.,

       extracts, models, or transcripts derived from image or video files); (2)

       copies of, or identifiable information derived from, an individual ' s facial

       features (e.g., faceprints, face embeddings, iris scans, retina scans, etc.),

       fingerprints , handprints, voice, genetics, or other physical or biological

       features ; or (3) copies of, or identifiable information derived from, an



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       individual's characteristic movements or gestures (e.g., gait or typing

       patterns' .   .y,1,,.


 C.    "Child" or "Children" means an individual or individuals under the age of

       13.

 D.    "Clear(ly) and Conspicuous(ly)" means that a required disclosure is

       difficult to miss (i.e., easily noticeable) and easily understandable by

       ordinary consumers, including in all of the following ways:

       1. In any communication that is solely visual or solely audible, the

             disclosure must be made through the same means through which the

             communication is presented. In any communication made through both

             visual and audible means, such as a television advertisement, the

             disclosure must be presented simultaneously in both the visual and

             audible portions of the communication even if the representation

             requiring the disclosure is made in only one means.

       2. A visual disclosure, by its size, contrast, location, the length oftime it

             appears, and other characteristics, must stand out from any

             accompanying text or other visual elements so that it is easily noticed,

             read, and understood.

       3. An audible disclosure, including streaming video, must be delivered in a

             volume, speed, and cadence sufficient for ordinary consumers to easily

             hear and understand it.



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       4. In any communication using an interactive electronic medium, such as

          the Internet or software, the disclosure must be unavoidable: · ·

       5. The disclosure must use diction and syntax understandable to ordinary

          consumers and must appear in each language in which the

          representation that requires the disclosure appears.

       6. The disclosure must comply with these requirements in each medium

          through which it is received, including all electronic devices and face-

          to-face communications.

       7. The disclosure must not be contradicted or mitigated by, or inconsistent

          with, anything else in the communication.

       8. When the representation or sales practice targets a specific audience,

          such as Children, Teens, the elderly, or the terminally ill, "ordinary

          consumers" includes reasonable members of that group.

 E.    "Collects," "Collected," "Collecting," or "Collection" means, for the

       purposes of Definitions L, N, P, T, X, Z, AA, and Provision I of this Order

       only, the gathering of any Personal Information from a Child by any means,

       including but not limited to:

       1. Requesting, prompting, or encouraging a Child to submit Personal

          Infonnation online;

       2. Enabling a Child to make Personal Information publicly available in

          identifiable form; or

       3. Passive tracking of a Child online.
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 F.    "Compliance Date" means thirty (30) days after entry of this Order.

 G.    "Covered Business" means: (1) Defendant; and (2) any busin ss that

       Defendant controls, directly or indirectly, that (i) discloses Covered

       Information collected from one user to another user, (ii) enables the

       disclosure of Covered Information from one user to another user, or (iii)

       enables any user to communicate with any other user. For purposes ofthis

       Order, to the extent that, after entry of this Order, Defendant obtains direct

       or indirect control over a business that discloses Covered Information

       collected from one user to another user, enables the disclosure of Covered

       Information from one user to another user, or enables any user to

       communicate with any other user, such business becomes a Covered

       Business sixty (60) days after the date on which Defendant obtained such

       control.

 H.    "Covered Information" means the following information from or about an

       individual consumer: (1) Personal lnfonnation; (2) Biometric Information;

       (3) the content of any communication from an individual; (4) credit or debit

       card information; (5) a date of birth; (6) a first and last name; (7) a home or

       other physical address including street name and name of a city or town; (8)

       Online Contact Information; (9) a screen or user name where it functions in

       the same manner as Online Contact Information; (10) a telephone number;

       (11) a Social Security number; (12) a Persistent Identifier; (13) geolocation

       information sufficient to identify street name and name of a city or town ; or

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       (14) infonnation concerning an individual collected online and combined

       w ith a Persistent Identifier. · '            \   ... '

 I.    "Covered Product or Service" means any Internet-enabled product or

       service controlled or operated, directly or indirectly, by any Covered

       Business, that: ( 1) discloses Covered Information collected from one user

       to another user; (2) enables the disclosure of Covered Information from one

       user to another user; or (3) enables any user to communicate with any other

       user.

 J.    "Defendant" means Epic Games, Inc. , a corporation, and its successors and

       assigns.

 K.    "Delete" means to remove Personal Information such that it is not

       maintained in retrievable form and cannot be retrieved in the normal course

       of business.

 L.    "Disclose," "Disclosed," "Disclosing," or "Disclosure" means, with

       respect to Personal Information, for the purposes of Definitions N, X , Z,

       AA, and Provision I of this Order only:

       1. The Release of Personal Information Collected by an Operator from a

          Child in identifiable form for any purpose, except where an Operator

          provides such information to a Person who provides Support for the

          Internal Operations of the Website or Online Service; and

       2. Making Personal Information Collected by an Operator from a Child

          publicly available in identifiable form by any means, including but not

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          limited to a public posting through the Internet, or through a personal

          home pl:tge or screen posL'"' on a website or online service~ a pen pal

          service; an electronic mail service; a message board; or a chat room.

 M.   "Internet" means collectively the myriad of computer and

      telecommunication facilities, including equipment and operating software,

      which comprises the interconnected world-wide network of networks that

      employ the Transmission Control Protocol/Internet Protocol, or any

      predecessor or successor protocols to such protocol, to communicate

      information of all kinds by wire, radio, or other methods of transmission.

 N.   "Obtain, Obtained, or Obtaining Verifiable Parental Consent" means

      making any reasonable effort (taking into consideration available

      technology) to ensure that before Personal Information is Collected from a

      Child, a Parent of the Child:

       1. Receives notice of the Operator's Personal Inforn1ation Collection, use,

          and Disclosure practices; and

       2. Authorizes any Collection, use, or Disclosure of the Personal

          Information.

 0.   "Online Contact Information" means an email address or any other

       substantially similar identifier that permits direct contact with a Person

       online, including but not limited to, an instant messaging user identifier, a

       voice over internet protocol (VOiP) identifier, or a video chat identifier.



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 P.   "Operator" means any Person who operates a website located on the

      Internet or m~~ "nline service and who Collects or maintains Personal

      Information from or about the users of or visitors to such website or online

      service, or on whose behalf such information is Collected and maintained,

      or offers products or services for sale through the website or online service,

      where such website or online service is operated for commercial purposes

       involving commerce among the several States, or with one or more foreign

      nations; in any territory of the United States or in the District of Columbia,

      or between any such territory and another such territory or any State or

      nation; or between the District of Columbia and any State, territory, or

      foreign nation.

 Q.   "Parent" includes a legal guardian.

 R.   "Persistent Identifier" means an identifier that can be used to recognize a

      user over time and across different websites or online services. Such

      Persistent Identifier includes, but is not limited to, a customer number held

      in a cookie, an Internet Protocol (IP) address, a processor or device serial

      number, or unique device identifier.

 S.   "Person" means any individual, partnership, corporation, trust, estate,

      cooperative, association, or other entity.

 T.   "Personal Information" means individually identifiable information about

      an individual Collected online, including:

      1. A first and last name;

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                  2. A home or other physical address including street name and name of a

  ...._..,.~,,,      city or town;                                                              -.,   .◄   '


                  3. Online Contact Information;

                  4. A screen or user name where it functions in the same manner as Online

                     Contact Information;

                  5. A telephone number;

                  6. A Social Security number;

                  7. A Persistent Identifier;

                  8. A photograph, video, or audio file where such file contains a Child's
                     .             .
                     image or voice;

                  9. Geolocation information sufficient to identify street name and name of a

                     city or town; or

                  10. Information concerning the Child or the Parents of that Child that the

                     Operator Collects online from the Child and combines with a Persistent

                     Identifier.

  U.              "Principal Executive Officer" means Timothy Sweeney for so long as he

                  serves as Chief Executive Officer of Defendant, or such other officer

                  (regardless of title) that is designated in Defendant's bylaws or by

                  resolution of Defendant' s board of directors as being the most senior

                  executive officer of Defendant, acting solely in his official capacity on

                  behalf of Defendant; or if Timothy Sweeney no longer serves in such a

                  position, then such other individual serving as the Chief Executive Officer

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       of Defendant, or such other officer (regardless of title) that is designated in

       Defendant's bylaws or by resolution of Defendant' s board of direc:tvi'S as

       being the most senior executive officer of Defendant, acting solely in their

       official capacity on behalf of Defendant. In the event that Timothy

       Sweeney is not the Principal Executive Officer and such position is jointly

       held by two or more individuals, then each of such individuals must be

       deemed to be a Principal Executive Officer.

 V.    "Privacy Setting" means any control or setting that allows a user of a

       Covered Product or Service, or their Parent, to enable, and subsequently

       disable, restrict, or otherwise control, any disclosure of the user' s Covered
                '
       Information to, or ability of the user to communicate with or receive

       communications from, any other user of the Covered Product or Service.

 W.    "Release of Personal Information" means the sharing, selling, renting, or

       transfer of Personal lnfom1ation to any Third Party.

 X.    "Support for the Internal Operations of the Website or Online Service"

       means:

       1. Those activities necessary to:

          a. Maintain or analyze the functioning of the website or online service;

          b. Perform network communications;

          c. Authenticate users of, or personalize the content on, the website or

                online service;



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          d. Serve contextual advertising on the website or online service or cap

              the frequency of advertbing;

          e. Protect the security or integrity of the user, website, or online

              service;

          f. Ensure legal or regulatory compliance; or

          g. Fulfill a request of a Child as permitted by 16 C.F.R. §§ 312.5(c)(3)

              and (4);

       2. So long as the information Collected for the activities listed in

          paragraphs ( 1)( a)-(g) of this definition is not used or Disclosed to

          contact a specific individual, including through behavioral advertising,

          to amass a profile on a specific individual, or for any other purpose.

 Y.    "Teen" means an individual aged 13, 14, 15, 16, or 17.

 Z.    "Third Party" means, for the purpose of Definition W only, any Person

       who is not:

       1. An Operator with respect to the Collection or maintenance of Personal

          Information on the Web site or online service; or

       2. A Person who provides Support for the Internal Operations of the Web

          site or Online Service and who does not use or Disclose information

          protected under the COPPA Rule (attached as Appendix A) for any

          other purpose.




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 AA.   "Website or Online Service Directed to Children" means a commercial

       website or oriniie service, or po ion thereof, that is targeted to Children.

       1. In determining whether a website or online service, or a portion thereof,

          is directed to Children, the Commission will consider its subject matter,

          visual content, use of animated characters or Child-oriented activities

          and incentives, music or other audio content, age of models, presence of

          Child celebrities who appeal to Children, language or other

          characteristics of the website or online service, as well as whether

          advertising promoting or appearing on the website or online service is

          directed to Children. The Commission will also consider competent and

          reliable empirical evidence regarding audience composition, and

          evidence regarding the intended audience.

       2. A website or online service shall be deemed directed to Children when

          it has actual knowledge that it is Collecting Personal Information

          directly from users of another website or online service directed to

          Children.

       3. A website or online service that is directed to Children under the criteria

          set forth in paragraph ( 1) of this definition, but that does not target

          Children as its primary audience, shall not be deemed directed to

          Children if it:

            a. Does not Collect Personal Information from any visitor prior to

                Collecting age information; and
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                     b. Prevents the Collection, use, or Disclosure of Personal Information

                         fron1   sitors who identify themselves as under age 13 without first

                         complying with the notice and parental consent provisions of the

                         COPPA Rule (attached as Appendix A).

            4. A website or online service shall not be deemed directed to Children solely

                because it refers or links to a commercial website or online service directed

                to Children by using information location tools, including a directory,

                index, reference, pointer, or hypertext link.

                                           ORDER

           I.   INJUNCTION CONCERNING THE COLLECTION OF
                  PERSONAL INFORMATION FROM CHILDREN

      IT IS FURTHER ORDERED that, no later than the Compliance Date, Defendant

and Defendant' s officers, agents, employees, and attorneys, and all other Persons in

active concert or participation with any of them, who receive actual notice of this Order,

whether acting directly or indirectly, in connection with being an Operator of any

Website or Online Service Directed to Children or of any website or online service with

actual knowledge that it is Collecting or maintaining Personal Information from a Child,

are hereby permanently restrained and enjoined from:

      A.        Failing to make reasonable efforts, taking into account available

                technology, to ensure that a Parent of a Child receives direct notice of the

                Operator' s practices with regard to the Collection, use, or Disclosure of

                Personal Information from Children, including notice of any material


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        change in the Collection, use, or Disclosure practices to which the Parent

      ,i~ has previously consented, unless the COPPA Rule (attached as Appb 1dix

        A), provides an exception to providing such notice;

 B.     Failing to post a prominent and clearly labeled link to an online notice of

        the Operator's information practices with regard to Children, if any, on the

        home or landing page or screen of its website or online service, and at each

        area of the website or online service where Personal Information is

        Collected from Children, unless the COPPA Rule (attached as Appendix

        A), provides an exception to providing such notice;

 C.     Failing to Obtain Verifiable Parental Consent before any Collection, use, or

        Disclosure of Personal Information from Children, including consent to any

        material change in the Collection, use, or Disclosure practices to which the

        Parent has previously consented, unless the COPPA Rule (attached as

        Appendix A), provides an exception to Obtaining Verifiable Parental

        Consent;

 D.     Failing to Delete a Child 's Personal Information at the request of a Parent;

 E.     Retaining a Child' s Personal Information for longer than is reasonably

        necessary to fulfill the purpose for which the information was Collected;

        and

 F.     Violating the COPPA Rule (attached as Appendix A).




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        II.   INJUNCTION CONCERNING CIDLDREN'S PERSONAL
                  INFORMATION PREVIOUSLY COLLECTED

      IT IS FURTHER ORDERED that Defendant, Defendant' s officers, agents,

employees, and attorneys, and all other Persons in active concert or participation with any

of them, who receive actual notice of this Order, must:

      A.      Within sixty (60) days of the Compliance Date, Delete all Personal

              Information that is associated, at the time of the Compliance Date, with any

              Fortnite user, unless:

              1. the user has provided age information through a neutral age gate

                 identifying the user as age 13 or older; or

              2. Defendant has provided direct notice and Obtained Verifiable Parental

                 Consent; and

       B.     Within ninety (90) days of the Compliance Date, provide a written

              statement to the Commission, sworn under penalty of perjury, that:

              1. Describes all processes through which Defendant provided direct notice

                 and sought to Obtain Verifiable Parental consent for any accounts

                 covered by this Provision II;

              2. Identifies the total number of accounts for which (i) direct notice was

                 provided; (ii) Defendant Obtained Verifiable Parental Consent; (iii)

                 verifiable parental consent was affirmatively declined; and (iv) no

                 response was provided;




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                  3. Describes in detail any Personal Infonnation Defendant retains in

                     accordance with sub-Provisions II.C or II.D, tht '' asis for such retention,

                     and, as applicable, the specific government agency, law, regulation, or

                     court order that requires such retention; and

                  4. Confirms that all Personal Information required to be Deleted by this

                     Provision II has been Deleted.

Provided, however, that:

       C.         Persistent Identifiers that Defendant is otherwise required to Delete by this

                  Provision II need not be Deleted to the extent they are used solely for

                  Support for the Internal Operations of the Website or Online Service; and

       D.         Personal Information that Defendant is otherwise required to Delete by this

                  Provision II may be retained, and may be disclosed, as requested by a

                  government agency or required by law, regulation, or court order. Within

                  thirty (30) days after the obligation to retain any such Personal Information

                  has ended, Defendant shall Delete such Personal Information and provide

                  an additional written statement to the Commission, sworn under penalty of

                  perjury, confirming that Defendant has Deleted such Personal Information.

            ID.     DEFAULT PRIVACY SETTINGS FOR CHILDREN
                                  AND TEENS

       IT IS FURTHER ORDERED that, within thirty (30) days of the Compliance Date,

Defendant, Defendant's officers, agents, employees, and attorneys, and all other Persons

in active concert or participation with any of them, who receive actual notice of this


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Order, in connection with any Covered Product or Service, are permanently restrained

and enjoined from disclosing a Child ' s or Tee·w   1   - :- overed Information to, enabling a

Child or Teen to disclose their Covered Information to, or enabling a Child or Teen to

converse with or be party to conversations between or among, any other user of the

Covered Product or Service, unless:

       A.     For a Child user, the Child's Parent has provided, and not withdrawn, their

              Affirmative Express Consent through an easily-located Privacy Setting; and

       B.     For a Teen user, the Teen (or the Teen's Parent) has provided, and not

              withdrawn, their Affirmative Express Consent through an easily-located

              Privacy Setting.

       C.     Each Clear and Conspicuous disclosure required pursuant to sub-Provisions

              III.A. and III.B. must identify: (1) each type of Covered Information that

              will be disclosed; (2) each category of Persons to which each type of

              Covered Information will be disclosed; (3) each type of communication the

              Child or Teen will be able to make or receive; and (4) each category of

              Persons to, or from which, the Child or Teen will be able to make, or

              receive, each type of communication.

       D.     For the purposes of this Provision III:

              1. Any user of any Covered Product or Service that is a Website or Online

                 Service Directed to Children must be deemed a Child, provided,

                 however, that for any such Covered Product or Service that does not

                 target Children as its primary audience, Defendant may collect age

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                  information from users before collecting any other Covered Information
                                                                                             .,
             ·'   and treat eat.,· ser accordingly unless and until Defendant has actual

                  knowledge that the user is a Child or Teen;

             2. Any user of any Covered Product or Service that is not a Website or

                  Online Service Directed to Children may be treated as neither a Child

                  nor a Teen unless and until Defendant has actual knowledge that the

                  user is a Child or Teen; and

             3. To the extent that a display name of a Child or Teen is disclosed in a

                  multiuser game or other interactive multiuser experience to identify

                  participating users, such display name will not be considered Covered

                  Information. Provided, however, Defendant must describe: (i) in a

                  direct notice to parents, any such disclosure of a Child's display name;

                  and (ii) in Defendant's privacy policy, any such disclosure of a Child's

                  or Teen's display name.

                  IV.    MANDATED PRIVACY PROGRAM

       IT IS FURTHER ORDERED that each Covered Business, in connection with the

collection, maintenance, use, or disclosure of, or provision of access to, Covered

Information, must, within thirty (30) days of the Compliance Date, establish and

implement, and thereafter maintain, a comprehensive privacy program (the "Privacy

Program") that protects the privacy of such Covered Information. To satisfy this

requirement, each Covered Business must, at a minimum:



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 A.       Document in writing the content, implementation, and maintenance of the

      ~, 'J.   fivacy Program; ·

 B.       Provide the written program and any evaluations thereof or updates thereto

          to its board of directors or governing body, or if no such board or

          equivalent governing body exists, to a senior officer responsible for the

          Privacy Program at least once every twelve (12) months;

 C.       Designate a qualified employee or employees to coordinate and be

          responsible for the Privacy Program;

 D.       Assess and document, at least once every twelve (12) months, internal and

          external risks to the privacy of Covered Information that could result in the

          unauthorized collection, maintenance, use, or disclosure of, or provision of

          access to, Covered Information;

 E.       Design, implement, maintain, and document safeguards that control for the

          material internal and external risks the Covered Business identifies to the

          privacy of Covered Information identified in response to sub-Provision

          IV.D. Each safeguard must be based on the volume and sensitivity of the

          Covered Information that is at risk, and the likelihood that the risk could be

          realized and result in the unauthorized collection, maintenance, use, or

          disclosure of, or provision of access to, Covered Information. Such

          safeguards must include:

          1. Policies, procedures, and technical measures to comply with COPPA

                 and the COPP A Rule;

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      2. Policies, procedures, and technical measures to comply with Provision

         III;

      3. Regular COPPA Rule training on at least an annual basis for all

         employees and contractors providing services to the Covered Business

         whose responsibilities include any of the following: (a) access to

         Covered Information; (b) Covered Products or Services design,

         engineering, or implementation; or (c) Privacy Settings design,

         engineering, or implementation; and

      4. Regular privacy training programs for all employees and contractors

         providing services to the Covered Business, updated on at least an

         annual basis to address any identified material internal or external risks

         and safeguards implemented pursuant to this Order;

 F.   Assess, at least once every twelve (12) months, the sufficiency of any

      safeguards in place to address the internal and external risks to the privacy

      of Covered Information, and modify the Privacy Program as needed based

      on the results;

 G.   Test and monitor the effectiveness of the safeguards at least once every

      twelve (12) months, and modify the Privacy Program as needed based on

      the results;

 H.   Select and retain service providers capable of safeguarding Covered

      Information they access through or receive from the Covered Business, and

      contractually require service providers to implement and maintain

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             safeguards sufficient to address the internal and external risks to the privacy

             of Covered Information; and

      I.     Evaluate and adjust the Privacy Program in light of any changes to the

             Covered Business's operations or business arrangements, new or more

             efficient technological or operational methods to control for the risks

             identified in sub-Provision IV.D of this Order, or any other circumstances

             that the Covered Business knows or has reason to know may have an

             impact on the effectiveness of the Privacy Program or any of its individual

             safeguards. At a minimum, the Covered Business must evaluate the

             Privacy Program at least once every twelve ( 12) months and modify the

             Privacy Program as needed based on the results.

           V.      PRIVACY ASSESSMENTS BY A THIRD PARTY

      IT IS FURTHER ORDERED that, in connection with Provision IV ofthis Order

titled Mandated Privacy Program, Defendant must obtain initial and biennial assessments

("Assessments"):

      A.     The Assessment must be obtained from a qualified, objective, independent

             third-party professional ("Assessor"), who: (1) uses procedures and

             standards generally accepted in the profession; (2) conducts an independent

             review of the Privacy Program; (3) retains all documents relevant to each

             Assessment for five (5) years after completion of such Assessment; and (4)

             will provide such documents to the Commission within ten ( 10) days of

             receipt of a written request from a representative of the Commission. The

                                            22

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       Assessor may not withhold any documents from the Conuni ssion on the

       basis of a claim oi confi dentiality, p1 ·prietary or trade secrets, work

       product protection, attorney-client privi lege, statutory exemption, or any

       similar claim.

 B.    For each Assessment, Defendant must provide the Associate Director for

       Enforcement for the Bureau of Consumer Protection at the Federal Trade

       Commission with the name, affiliation, and qualifications of the proposed

       Assessor, whom the Associate Director shall have the authority to approve

       in their sole discretion.

 C.    Within ten (10) days of receiving notice that the Associate Director for

       Enforcement has approved a proposed Assessor, Defendant must file a joint

       notice of the selection of the Assessor with the Court.

 D.    The reporting period for the Assessments must cover: (1) the first 180 days

       after the Privacy Program has been put in place for the initial Assessment;

       and (2) each two-year period thereafter for twenty (20) years after the entry

       date of the Order for the biennial Assessments.

 E.    Each Assessment must, for the entire assessment period:

       1. Determine whether each Covered Business has implemented and

          maintained the Privacy Program required by Provision IV of this Order,

          titled Mandated Privacy Program;

       2. Assess the effectiveness of each Covered Business's implementation

          and maintenance of sub-Provisions IV.A-I;

                                       23

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       3. Identify any gaps or weaknesses in, or instances of material

          noncomplianc -· 'th, the Privacy Program;

       4. Address the status of gaps or weaknesses in, or instances of material

          non-compliance with, the Privacy Program that were identified in any

          prior Assessment required by this Order; and

       5. Identify specific evidence (including but not limited to documents

          reviewed, sampling and testing performed, and interviews conducted)

          examined to make such determinations, assessments, and

          identifications, and explain why the evidence that the Assessor

          examined is: (a) appropriate for assessing an enterprise of the Covered

          Business's size, complexity, and risk profile; and (b) sufficient to justify

          the Assessor' s findings. No finding of any Assessment shall rely

          primarily on assertions or attestations by a Covered Business ' s

          management. The Assessment must be signed by the Assessor, state

          that the Assessor conducted an independent review of the Privacy

          Program and did not rely primarily on assertions or attestations by a

          Covered Business's management, and state the number of hours that

          each member of the assessment team worked on the Assessment. To the

          extent that a Covered Business adds, materially revises, or materially

          updates one or more safeguards required under Provision IV of this

          Order during an Assessment period, the Assessment must assess the

         _ effectiveness of the added, materially revised, or materially updated

                                     24

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               safeguard(s) for the time period in which it was in effect, and provide a

       '   ~   ·eparate statement detailing the basis for each additional, materially

               revised, or materially updated safeguard.

 F.   Each Assessment must be completed within sixty (60) days after the end of

      the reporting period to which the Assessment applies. Unless otherwise

      directed by a Commission representative in writing, Defendant must submit

      an unredacted copy of the initial Assessment and a proposed redacted copy

      suitable for public disclosure of the initial Assessment to the Commission

      within ten ( 10) days after the Assessment has been completed via email to

      DEbrief@ftc.gov or by overnight courier (not the U.S. Postal Service) to

      Associate Director for Enforcement, Bureau of Consumer Protection,

      Federal Trade Commission, 600 Pennsylvania Avenue NW, Washington,

      DC 20580. The subject line must begin: "United States v. Epic Games,

      Inc., FTC File No. 2223087." Defendant must retain an unredacted copy of

      each subsequent biennial Assessment as well as a proposed redacted copy

      suitable for public disclosure of each subsequent biennial Assessment until

      the Order is terminated and provide it to the Associate Director for

      Enforcement within ten ( 10) days ofrequest. The initial Assessment and

      any subsequent biennial Assessment provided to the Commission must be

      marked, in the upper right-hand corner of each page, with the words "DPIP

      Assessment" in red lettering.



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      G.     Within ten (10) days after the completion of each Assessment, Defendant

             must file an unredacted copy of the Assessment with the Court. The Paru~

             acknowledge that the Assessments may contain confidential business

             information, personal or financial inf01mation, trade secrets, or otherwise

             competitively sensitive information. Any Assessment containing such

             information shall be filed under seal and accompanied by a submission

             demonstrating good cause for sealing the Assessment.

                 VI.       COOPERATION WITH THIRD-PARTY
                                 PRIVACY ASSESSOR

      IT IS FURTHER ORDERED that Defendant, whether acting directly or indirectly,

in connection with any Assessment required by Provision V of this Order titled Privacy

Assessments by a Third Party, must:

      A.     Provide or otherwise make available to the Assessor all information .and

             material in its possession, custody, or control that is relevant to the

             Assessment for which there is no reasonable claim of privilege;

      B.     Provide or otherwise make available to the Assessor information about each

             Covered Business's network(s), and all of each Covered Business' s IT

             assets so that the Assessor can determine the scope of the Assessment, and

             visibility to those portions of the network(s) and IT assets deemed in scope;

             and

      C.     Disclose all material facts to the Assessor, and not misrepresent in any

             manner, expressly or by implication, any fact material to the Assessor's:


                                             26

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              (I) determination of whether Defendant has implemented and maintained

              the Privacy Program required by Prov rs on IV of this 01 :er, titled

              Mandated Pri vacy Program; (2) assessment of the effectiveness of the

              implementation and maintenance of sub-Provisions IV.A-I; or (3)

              identification of any gaps or weaknesses in, or instances of material

              noncompliance with, the Privacy Program.

                      VII.    ANNUAL CERTIFICATION

       IT IS FURTHER ORDERED that, one year after the Compliance Date, and each

year thereafter for ten (I 0) years after the Compliance Date:

       A.     Defendant must provide the Commission with a certification from the

              Principal Executive Officer that: (1) Defendant has established,

              implemented, and maintained the requirements of this Order; and (2)

              Defendant is not aware of any material noncompliance that has not been (a)

              corrected or (b) disclosed to the Commission. The certification must be

              based on the personal knowledge of the Principal Executive Officer or

              subject matter experts upon whom the Principal Executive Officer

              reasonably relies in making the certification.

       B.     Defendant must provide the Commission with a certification from a senior

              officer of each Covered Business other than Defendant responsible for each

              such Covered Business 's Privacy Program that: (1) each Covered Business

              other than Defendant has established, implemented, and maintained the

              requirements of this Order; and (2) each Covered Business other than

                                             27

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          Defendant is not aware of any material noncompliance that has not been (a)

          corrected or (b) disc osed to the Comm     ion. The certification must be

          based on the personal knowledge of the senior corporate manager, senior

          officer, or subject matter experts upon whom the senior corporate manager

          or senior officer reasonably relies in making the certification.

 C.       Unless otherwise directed by a Commission representative in writing,

          submit all annual certifications to the Commission pursuant to this Order

          via email to DEbrief@ftc.gov or by overnight courier (not the U.S. Postal

          Service) to the Associate Director for Enforcement, Bureau of Consumer

          Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,

          Washington, DC 20580. The subject line must begin: "United States v.

          Epic Games, Inc., FTC File No. 2223087."

  VIII.      MONETARY JUDGMENT FOR CIVIL PENALTY

 IT IS FURTHER ORDERED that:

 A.       Judgment in the amount of two hundred seventy five million dollars

          ($275 ,000,000) is entered in favor of Plaintiff against Defendant as a civil

          penalty.

 B.       Defendant is ordered to pay to Plaintiff, by making payment to the

          Treasurer of the United States, two hundred seventy five million dollars

          ($275 ,000,000), which, as Defendant stipulates, its undersigned counsel

          holds in escrow for no purpose other than payment to Plaintiff. Such

          payment must be made within seven (7) days of entry of this Order by

                                         28

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                 electronic fund transfer in accordance with instructions previously provided

                 by 1a representative ut · aintiff.

       C.        Defendant relinquishes dominion and all legal and equitable right, title, and

                 interest in all assets transferred pursuant to this Order and may not seek the

                 return of any assets.

       D.        The facts alleged in the Complaint will be taken as true, without further

                 proof, in any subsequent civil litigation by or on behalf of the Commission

                 in a proceeding to enforce its rights to any payment or monetary judgment

                 pursuant to this Order.

       E.        Defendant acknowledges that its Taxpayer Identification Numbers (Social

                 Security Numbers or Employer Identification Numbers), which Defendant

                 must submit to the Commission, may be used for collecting and reporting

                 on any delinquent amount arising out of this Order, in accordance with 31

                 U.S.C. §7701.

                       IX.    ORDER ACKNOWLEDGMENTS

       IT IS FURTHER ORDERED that Defendant obtain acknowledgments of receipt

of this Order:

       A.        Defendant, within seven (7) days of entry of this Order, must submit to the

                 Commission an acknowledgment of receipt of this Order sworn under

                 penalty of perjury.

       B.        For five (5) years after entry of this Order, Defendant must deliver a copy

                 of this Order to: (1) all principals, officers, directors, and LLC managers

                                                  29

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              and members; (2) all employees, agents, and representatives having

              manic erial responsibilities for conduct related to the subject matter of the '·

              Order; and (3) any business entity resulting from any change in structure as

              set forth in the Provision titled Compliance Reporting. Delivery must occur

              within seven (7) days of entry of this Order for current personnel. For all

              others, delivery must occur before they assume their responsibilities.

     C.       From each individual or entity to which Defendant delivered a copy of this

              Order, Defendant must obtain, within thirty (30) days, a signed and dated

              acknowledgment of receipt of this Order.

                       X.    COMPLIANCE REPORTING

     IT IS FURTHER ORDERED that Defendant make timely submissions to the

Commission:

     A.       One (1) year after entry of this Order, Defendant must submit a compliance

              report, sworn under penalty of perjury:

              1. Defendant must: (a) identify the primary physical, postal, and email

                 address and telephone number, as designated points of contact, which

                 representatives of the Commission and Plaintiff may use to

                 communicate with Defendant; (b) identify all of Defendant' s businesses

                 by all of their names, telephone numbers, and physical, postal, email,

                 and Internet addresses; (c) describe the activities of each business,

                 including the goods and services offered, the means of advertising,

                 marketing, and sales; (d) describe in detail whether and how Defendant

                                             30

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         is in compliance with each provision of this Order; and (e) provide a

         copy of each Order Acknowledgment obtained pursuant to this Order,- · ;jll."

         unless previously submitted to the Commission.

 B.   For ten (10) years after entry of this Order, Defendant must submit a

      compliance notice, sworn under penalty of perjury, within 14 days of any

      change in the following:

      1. Defendant must report any change in: (a) any designated point of

         contact; or (b) the structure of Defendant or any entity that Defendant

         has any ownership interest in or controls directly or indirectly that may

         affect compliance obligations arising under this Order, including:

         creation, merger, sale, or dissolution of the entity or any subsidiary,

         parent, or affiliate that engages in any acts or practices subject to this

         Order.

 C.   Defendant must submit to the Commission notice of the filing of any

      bankruptcy petition, insolvency proceeding, or similar proceeding by or

      against Defendant within fourteen (14) days of its filing.

 D.   Any submission to the Commission required by this Order to be sworn

      under penalty of perjury must be true and accurate and comply with 28

      U.S.C. § 1746, such as by concluding: "I declare under penalty of perjury

      under the laws of the United States of America that the foregoing is true

      and correct. Executed on: _ _" and supplying the date, signatory' s full

      name, title (if applicable), and signature.

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       Unless otherwise directed by a Commission representative in writing, all

submissions to the Commission pursuant to this Order must be emailed' -

DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to: Associate

Director for Enforcement, Bureau of Consumer Protection, Federal Trade Commission,

600 Pennsylvania Avenue NW, Washington, DC 20580. The subject line must begin:

"United States v. Epic Games, Inc. , FTC File No. 2223087."

                            XI.    RECORDKEEPING

       IT IS FURTHER ORDERED that Defendant must create certain records for ten

(10) years after entry of the Order, and retain each such record for five (5) years.

Specifically, Defendant must create and retain the following records:

       A.     Accounting records showing the revenues from all goods or services sold in

              connection to any Covered Product or Service;

       B.     Personnel records showing, for each Person providing services in

              connection to any Covered Product or Service, whether as an employee or

              otherwise, that Person' s: name; addresses; telephone numbers; job title or

              position; dates of service; and (if applicable) the reason for tern1ination;

       C.     Copies or records of all consumer complaints and refund requests

              concerning the subject matter of the Order, whether received directly or

              through any domestic government regulatory authority; and

       D.     All records necessary to demonstrate full compliance with each provision

              of this Order, including all submissions to the Commission.



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                   XII.    COMPLIANCE MONITORING

      IT IS FURTHER ORD ERE          that, for the pm   It}.:,   of monitoring Defendant's

compliance with this Order:

      A.     Within fourteen ( 14) days of receipt of a written request from a

             representative of the Commission or Plaintiff, Defendant must: submit

             additional compliance reports or other requested information, which must

             be sworn under penalty of perjury; appear for depositions; and produce

             documents for inspection and copying. The Commission and Plaintiff are

             also authorized to obtain discovery, without further leave of court, using

             any of the procedures prescribed by Federal Rules of Civil Procedure 29,

             30 (including telephonic depositions), 31 , 33 , 34, 36, 45 , and 69, provided

             that Defendant, after attempting to resolve a dispute without court action

             and for good cause shown, may file a motion with this Court seeking an

             order for one or more of the protections set forth in Rule 26( c ).

      B.     For matters concerning this Order, the Commission and Plaintiff are

             authorized to communicate directly with Defendant. Defendant must

             permit representatives of the Commission and Plaintiff to interview any

             employee or other Person affiliated with Defendant who has agreed to such

             an interview. The Person interviewed may have counsel present.

      C.     The Commission and Plaintiff may use all other lawful means, including

             posing, through its representatives as consumers, suppliers, or other

             individuals or entities, to Defendant or any individual or entity affiliated

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             with Defendant, without the necessity of identification or prior notice.

             Not 1iig in this Ordet''I   its the Commission 's lawful use of compulsory

             process, pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49,

             57b-l.

                 XIII.    RETENTION OF JURISDICTION

      IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for

purposes of construction, modification, and enforcement of this Order.

SO ORDERED this       ..L. day of f 4-t,«4, 20:zl_.


                                           TERRENCE W. BOYLE
                                           UNITED STATES DISTRICT JUDGE




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      0 TIP LATED AND AGREED:

• ◄    RPLAINTI ~ .""'

 THE UNITED TAT          OF AM .. Rl A

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                                                ,           -i ,..


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DEFENDANT:


   s-1-MYL ~ -;i///J.5                  Date:   I/ 31 /Z3
Name: Tim Sweeney
Title: Chief Executive Officer
Epic Games, Inc.




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            Appendix A




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average firm-wide billing ra te (partners             estimates for technical labor are not                     The Commission staff assumes
and associates) in 2011 was $403, the                 accompanied by an adequate                              periodic reports w ill be prepared by
average partner rate was $482, and the                explanati on of why estimates for                       compliance officers, at a labor rate of
average associate rate was $3 03.                     technical support drawn from BLS                        $28 per hour. 399 Appli ed to an assumed
   The Commission believes it                         stati stics <'"'- " ? l an appropriate basis for        industry total of 600 hours per year for
reasonable to assume that the workload                the FTC's PRA analysis. Accordingly,                    this task, associated yearly labor costs
among law firm partners and associates                the Commission believes it is reasonable                would be $16,800.
for COPPA compliance questions could                  to retain the 2012 SNPRM estimate of                      Cumulatively, labor costs for the
be competently addressed and                          $42 per hour for techni cal assistance                  above-noted reporting requirements
efficiently distributed among attorneys               based on BLS data.                                      total approximately $38,400 per year.
at varying levels of seniority, but would                Thus , for the 180 new operators per
be weighted most heavily to more junior               year not previously accounted for under                 G. Non-Labor/Capital Costs
attorneys. Thus, assuming an                          the FTC's currently cleared estimates,                     Because both operators and safe
apportionment of two-thirds of such                   10,800 cumulative disclosure hours                      harbor programs will already be
work is done by associates, and one-                  would be composed of 9,000 hours of                     equipped with the computer equipment
third by partners , a weighted average                legal assistance and 1,800 hours of                     and software necessary to com ply with
tied to the average firm-wide associate               technical support. Applied to hourly                    the Rule's new notice requirements , the
and average firm-wide partner rates,                  rates of $365 and $42, respectively,                    final Rule amendments should not
respectively, in the National Law                     associated labor costs for the 180 new                  impose any additional capital or other
Journal 2011 survey would be about                    operators potentially subject to the                    non-labor costs. 40 o
$365 per hour. The Commission                         proposed amendments would be
believes that this rate B which is very               $3,360,600 (i.e., $3,285,000 for legal                  List of Subjects in 16 CFR Part 312
near the mean of TIA 's stated range of               support plus $75,600 for technical                        Children, Communications, Consumer
purported hourly rates that its members               support).                                               protection , Electronic mail , Email ,
typically pay to engage counsel for                      Similarly, for the estimated 2,910                   Internet, Online service, Privacy, Record
COPPA compliance questions Bis an                     existing operators covered by the final                 retention , Safety, science and
appropriate measure to calculate the                  Rul e amendments, 58,200 cumulative                     technology, Trade practices, Web site,
cost of legal assistance for operators to             disclosure hours would consist of                       Youth.
comply with the final Rule                            48 ,500 hours of legal assistance and
amendments. 396                                       9,700 hours for technical support.                      ■ Accordingly, for the reasons stated
   TIA also states that the 2012 SNPRM                Applied at hourly rates of $365 and $42,                above, the Federal Trade Commission
estimate of $42 per hour for technical                respecti vely, associated labor costs                   revises part 312 of Title 16 of the Code
support is too low, and that engaging                 would total $18,109,900 (i.e.,                          of Federal Regulations to read as
expert technical personnel can, on                    $17,702,500 for legal support plus                      follows:
average, involve hourly costs that range              $407,400 for technical support).
from $72 to $108. 397 Similar to TIA 's               Cumulatively, estimated labor costs for                 PART 312-CHILDREN 'S ONLINE
hours estimate, discussed above, the                  new and existing operators subject to                   PRIVACY PROTECTION RULE
Commission believes that TIA 's estimate              the final Rule amendments is                            Sec.
may have been based on implementing                   $21,470,500.                                            312.1 Scope ofregulations in this part.
requirements that, ultimately, the                                                                            312.2 Definitions.
Commission has determined not to                      (2) Reporting                                           312.3 Regulation of unfair or deceptive acts
adopt. For example, technical personnel                 The Commission staff assumes that                          or practices in connection with th e
will not need to " ensure" the security               the tasks to prepare augmented safe                          collection , use, and/or disclosure of
procedures of third parties; operators                harbor program applications occasioned                       personal information from and about
that have been eligible to use email plus             by the final Rule amendments will be                         children on the Internet.
for parental consents will not be                                                                             312.4 Noti ce.
                                                      performed primarily by lawyers , at a                   312.5 Parental consent.
required to implement new systems to                  mean labor rate of $180 an hour.398                     312.6 Right of parent to review personal
replace it. It is unclear whether TIA 's              Thus , applied to an assumed industry                        information provided by a child.
estimate for technical support is based               total of 120 hours per year for this task,              312.7 Prohibition against conditioning a
on the types of disclosure-related tasks              incremental associated yearly labor                          child's participation on collection of
that the final Rule amendments would                  costs would total $21,600.                                   personal information.
actually require, other tasks that the
final Rule amendments would not                         39 8 Based on Commission staff s experience with         , •• See Bureau of Labor Statistics National
require, or non-disclosure tasks not                  previously approved sa fe harbor programs, staff        Compensation Survey: Occupational Earnings in
covered by the PRA. Moreover, unlike                  anticipates that most of the legal tasks associated     the Unit ed States, 2010 , at Table 3, available at
its estimate for lawyer assistance, TIA's             with safe harbor programs will be performed by in-      http://www.bls.gov/ncs/ocslsp /nctb 1477.pdf. This
                                                      house counsel. Cf. Toy Industry Association             rate has not been contested .
                                                      (comment 89, 2012 SNPRM). at 19 (regional BLS              • 00 NCTA commented that the Commission fa iled
   396 Cf Civil Division of the United States
                                                      statistics for lawyer wages can support estimates of    to consider costs "related to redeveloping child-
Attorney's Office for the District of Columbia,       the level of in-house legal support likely lo be        directed Web sit es" that operators would be
United States Attorney's Offi ce, District of         required on an ongoing basis). Moreover, no             " forced " to incur as a res ult of the proposed Rule
Columbia , Laffey Matrix B 2003-2013, available at    comments were received in response to the               amendm ents , including for " new equipment and
http:llwww.justice.gov/usaa/dc/divisions/             February 9, 2011 and May 31, 201 1 Federal              software required by the expanded regu latory
Laffey_ Ma trix_2003-2013.pdf (updated " Laffey       Register notices (76 FR al 72 11 and 76 FR at 31334,    regime." NCTA (comment 113, 20 11 NPRM) , at 23.
Matrix" for calculating "reasonable" attorneys fees   respectively , available at http://www.gpo.gov/fdsysl   Simil arly, TIA com mented that the proposed Rul e
in suits in which fee shifting is authorized can be   pkg/FR-2011-02-09/pdf/2011-2904.pdf and http://         amendments would entail "increased monetary
evidence of prevailing market rates for litigati on   www.gpo.gov/fdsys/pkg/FR-2011-05-31 /pdf/2011-          costs with respect to technology acqu isition and
counsel in the Washington, DC area; ra tes in table   13357.pdj) , which ass umed a labor ra te of $150 per   imp lementation* • *. " Toy Industry Association
range from $245 per hour for most junior associates   hour for lawyers or similar professionals to prepare    (comment 163 , 2011 NPRM), at 17. These
to $505 per hour for most senior partners).           and submit a new safe harbor application. Nor was       comments, however, do not specify projected costs
  397 Toy Indu stry Association (comment 89 , 2012
                                                      that chall enged in the comments responding to the      or which Rul e amendments would en tail the
SNPRM). at 18.                                        2011 NPRM.                                              asserted cos ts.



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312.8 Confidentiality, security, and            Federal agency means an agency, as           Parent includ es a legal guardian .
     integrity of personal information       that term is defined in Section 551(1) of       Person means any individual ,
     collected from children .               titl e 5 , United States Code.               partnership , corporation , trust, estate,
312.9 Enforcement.                              Intern et means collectively th e
312.10 Data retention and deletio                                                         cooperative, association , or other entity.
     requirements.                  ~-~1,    myri~d .of computer and                         Personal information means
312 .11 Safe harbor programs.                telecommunications faciliti es, including    individually identifiable informati on
312.12 Voluntary Commission Approval         equipment and operating software,            about an individual collected online,
     Processes.                              which comprise the interconnected            including:
312.1 3 Severability.                        world-wide network of networks that             (1) A first and last name;
  Authority: 15 U.S.C. 6501-6508.
                                             employ the Transmission Control                 (2) A home or other physical address
                                             Protocol/Internet Protocol, or any           including street name and name of a
§312.1 Scope of regulations in this part.    predecessor or successor protocols to        city or town ;
  This part implements the Children's        such protocol, to communicate                   (3) Online contact information as
Online Privacy Protection Act of 1998,       information of all kinds by wire, radio ,    defined in this section;
(15 U.S.C. 6501, et seq.,) which             or other methods of transmission .              (4) A screen or user name where it
prohibits unfair or deceptive acts or           Obtaining verifiable consent means        functions in the same manner as online
practices in connection with the             making any reasonable effort (taking         contact information, as defined in this
collection, use , and/or disclosure of       into consideration available technology)     section;
personal information from and about          to ensure that before personal                  (5) A telephone number;
children on the Internet.                    information is collected from a child, a        (6) A Social Security number;
                                             parent of the child:                            (7) A persistent identifier that can be
§ 312.2   Definitions.                          (1) Receives notice of the operator's     used to recognize a user over time and
   Child means an individual under the       personal information collection, use,        across different Web sites or online
age of 13.                                   and disclosure practices; and                services. Such persistent identifier
   Collects or collection means the             (2) Authorizes any collection, use,       includes , but is not limited to, a
gathering of any personal information        and/or disclosure of the personal            customer number held in a cookie, an
from a child by any means, including         information.                                 Internet Protocol (IP) address, a
but not limited to:                             Online contact information means an       processor or device serial number, or
   (1) Requesting, prompting, or             email address or any other substantially     unique device identifier;
encouraging a child to submit personal       similar identifier that permits direct          (8) A photograph , video, or audio file
information online;                          contact with a person online, including      where such file contains a child's image
   (2) Enabling a child to make personal     but not limited to, an instant messaging     or voice ;
information publicly available in            user identifier, a voice over internet          (9) Geolocation information sufficient
identifiable form . An operator shall not    protocol (VOIP) identifier, or a video       to identify street name and name of a
be considered to have collected personal     chat user identifier.                        city or town; or
information under this paragraph if it          Operator means any person who                (10) Information concerning the child
takes reasonable measures to delete all      operates a Web site located on the           or the parents of that child that the
or virtually all personal information        Internet or an online service and who        operator collects online from the child
from a child's postings before they are      collects or maintains personal               and combines with an identifier
made public and also to delete such          information from or about the users of       described in this definition.
information from its records; or             or visitors to such Web site or online          Release of personal information
   (3) Passive tracking of a child online.   service, or on whose behalf such             means the sharing, selling, renting, or
   Commission means the Federal Trade        information is collected or maintained ,     transfer of personal information to any
Commission.                                  or offers products or services for sale      third party.
   Delete means to remove personal           through that Web site or online service,        Support for the internal operations of
information such that it is not              where such Web site or online service        the Web site or online service means:
maintained in retrievable form and           is operated for commercial purposes             (1) Those activities necessary to:
cannot be retrieved in the normal course     involving commerce among the several            (i) Maintain or analyze the
of business.                                 States or with 1 or more foreign nations;    functioning of the Web site or online
   Disclose or disclosure means, with        in any territory of the United States or     service;
respect to personal information:             in the District of Columbia, or between         (ii) Perform network communications;
   (1) The release of personal               any such territory and another such             (iii) Authenticate users of, or
information collected by an operator         territory or any State or foreign nation;    personalize the content on, the Web site
from a child in identifiable form for any    or between the District of Columbia and      or online service;
purpose, except where an operator            any State, territory, or foreign nation.        (iv) Serve contextual advertising on
provides such information to a person        This definition does not include any         the Web site or online service or cap the
who provides support for the internal        nonprofit entity that would otherwise be     frequency of advertising;
operations of the Web site or online         exempt from coverage under Section 5            (v) Protect the security or integrity of
service; and                                 of the Federal Trade Commission Act          the user, Web site, or online service;
   (2) Making personal information           (15 U.S.C. 45). Personal information is         (vi) Ensure legal or regulatory
collected by an operator from a child        collected or maintained on behalf of an      compliance; or
publicly available in identifiable form      operator when:                                  (vii) Fulfill a request of a child as
by any means , including but not limited        (1) It is collected or maintained by an   permitted by § 312 .5(c)(3) and (4);
to a public posting through the Internet,    agent or service provider of the operator;      (2) So long as The information
or through a personal home page or           or                                           collected for the activities listed in
screen posted on a Web site or online           (2) The operator benefits by allowing     paragraphs (1 )(i)-(vii) of this definition
service; a pen pal service; an electronic    another person to collect personal           is not used or disclosed to contact a
mail service; a message board; or a chat     information directly from users of such      specific individual , including through
room .                                       Web site or on line service.                 behavioral advertising, to amass a


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     profile on a specific individual, or for      §312.3 Regulation of unfair or deceptive    to Obtain Parent's Affirmative Consent
     any other purpose.                            acts or practices in connection with the    to the Collection, Use, or Disclosure of
                                                   collection, use, and/or disclosure of       a Child's Personal Information). This
        Third party means any person who is        personal information from and about
     not:                                                                                      direct notice shall set forth:
                                                   children on the Internet.
')              l,J.,,             -                                                              (i) Thal the o e,ator has collecte ,A~ , ,
        (1) An operator with respect to the           General requirements. It shall be        parent's online contact information from
     collection or maintenance of personal         unlawful for any operator of a Web site     the child , and, if such is the case, the
     information on the Web site or online         or online service directed to children, or name of the child or the parent, in order
     service; or                                   any operator that has actual knowledge      to obtain the parent's consent;
        (2) A person who provides support for      that it is collecting or maintaining           (ii) That the parent's consent is
     the internal operations of the Web site       personal information from a child, to       required for the collection, use , or
     or online service and who does not use        collect personal information from a         disclosure of such information , and that
     or disclose information protected under       child in a manner that violates the         the operator will not collect, use, or
     this part for any other purpose.              regulations prescribed under this part.     disclose any personal information from
                                                   Generally, under this part, an operator     the child if the parent does not provide
        Web site or online service directed to     must:
     children means a commercial Web site                                                      such consent;
                                                      (a) Provide notice on the Web site or       (iii) The additional items of personal
     or online service, or portion thereof, that   online service of what information it
     is targeted to children.                                                                  information the operator intends to
                                                   collects from children, how it uses such collect from the child, or the potential
        (1) In determining whether a Web site      information, and its disclosure practices opportunities for the disclosure of
     or online service, or a portion thereof,      for such information(§ 312.4(b));           personal information, should the parent
     is directed to children, the Commission          (bl Obtain verifiable parental consent   provide consent;
     will consider its subject matter, visual      prior to any collection, use , and/or          (iv) A hyperlink to the operator's
     content, use of animated characters or        disclosure of personal information from online notice of its information
     child-oriented activities and incentives,     children(§ 312.5);                          practices required under paragraph (d)
     music or other audio content, age of             (cl Provide a reasonable means for a
                                                                                               of this section;
     models, presence of child celebrities or      parent to review the personal
                                                                                                  (v) The means by which the parent
     celebrities who appeal to children,           information collected from a child and
                                                                                               can provide verifiable consent to the
     language or other characteristics of the      to refuse to permit its further use or
                                                                                               collection, use, and disclosure of the
     Web site or online service, as well as        maintenance (§ 312.6);
                                                      (d) Not condition a child's              information; and
     whether advertising promoting or                                                             (vi) That if the parent does not
     appearing on the Web site or online           participation in a game, the offering of
                                                   a prize, or another activity on the child   provide consent within a reasonable
     service is directed to children. The                                                      time from the date the direct notice was
     Commission will also consider                 disclosing more personal information
                                                                                               sent, the operator will delete the
     competent and reliable empirical              than is reasonably necessary to
                                                   participate in such activity(§ 312.7);      parent's online contact information from
     evidence regarding audience                                                               its records.
     composition, and evidence regarding           and
                                                      (e) Establish and maintain reasonable       (2) Content of the direct notice to the
     the intended audience.                                                                    parent under§ 312.5(c)(2) (Voluntary
                                                   procedures to protect the
        (2) A Web site or online service shall
                                                   confidentiality, security, and integrity of Notice to Parent of a Child's Online
     be deemed directed to children when it                                                    Activities Not Involving the Collection,
                                                   personal information collected from
     has actual knowledge that it is                                                           Use or Disclosure of Personal
                                                   children(§ 312.8).
     collecting personal information directly                                                  Information). Where an operator
     from users of another Web site or online      § 312.4 Notice.                             chooses to notify a parent of a child's
     service directed to children.                    (a) General principles of notice. It     participation in a Web site or online
        (3) A Web site or online service that      shall be the obligation of the operator to service , and where such site or service
     is directed to children under the criteria    provide notice and obtain verifiable        does not collect any personal
     set forth in paragraph (1) of this            parental consent prior to collecting,       information other than the parent's
     definition, but that does not target          using, or disclosing personal               online contact information, the direct
     children as its primary audience, shall       information from children. Such notice      notice shall set forth:
     not be deemed directed to children if it:     must be clearly and understandably             (i) That the operator has collected the
                                                   written, complete, and must contain no      parent's online contact information from
        (i) Does not collect personal
                                                   unrelated, confusing, or contradictory      the child in order lo provide notice to,
      information from any visitor prior to
     collecting age information; and               materials.                                  and subsequently update the parent
                                                      (bl Direct notice to the parent. An      about, a child's participation in a Web
        (ii) Prevents the collection, use, or      operator must make reasonable efforts,      site or online service that does not
      disclosure of personal information from      taking into account available               otherwise collect, use, or disclose
     visitors who identify themselves as           technology, to ensure that a parent of a    children's personal information;
     under age 13 without first complying          child receives direct notice of the            (ii) That the parent's online contact
     with the notice and parental consent          operator's practices with regard to the      information will not be used or
      provisions of this part.                     collection, use , or disclosure of personal disclosed for any other purpose ;
        (4) A Web site or online service shall     information from children, including           (iii) That the parent may refuse to
      not be deemed directed to children           notice of any material change in the        permit the child's participation in the
     solely because it refers or links to a        collection, use , or disclosure practices   Web site or online service and may
     commercial Web site or online service         to which the parent has previously          require the deletion of the parent's
      directed to children by using                consented.                                  on line contact information , and how the
      information location tools, including a          (c) Content of the direct notice to the  parent can do so; and
      directory, index, reference, pointer, or     parent-(l) Content of the direct notice        (iv) A hyperlink to the operator's
     hypertext link.                                to th e parent under§ 312.5(c}{1) (Notice online notice of its information


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            practices required under paragraph (d)        where personal information is collected      in light of avai labl e technology, lo
            of this section.                              from chi ldren . The link must be in close   ensure that the person providing
               (3) Content of the direct notice lo the    proximity to the requests for                consent is the child's parent. (2)
            parent under§ 312.5(c){4) (Notice to a        information in each such area. An            Existing methods lo obtain verifiable
I   ' >J.   Parent of Operator's Intent to                operator of a general audience Web Ji' ,     parental con , 'Lt hat satisfy the
            Communicate with the Child Multiple           or online service that has a separate        requirements ofthis paragraph include:
            Times). This direct notice shall set forth:   children's area must post a link to a           (i) Providing a consent form to be
               (i) That the operator has collected the    notice of its information practices with     signed by the parent and returned to the
            child's online contact information from       regard to children on the home or            operator by postal mail , facsimile, or
            the child in order to provide multiple        landing page or screen of the children 's    electronic scan;
            online communications to the child;           area. To be complete, the online notice         (ii) Requiring a parent, in connection
               (ii) That the operator has collected the   of the Web site or online service's          with a monetary transaction, to use a
            parent's online contact information from      information practices must state the         credit card, debit card, or other online
            the child in order to notify the parent       following :                                  payment system that provides
            that the child has registered to receive         (1) The name, address, telephone          notification of each discrete transaction
            multiple online communications from           number, and email address of all             to the primary account holder;
            the operator;                                 operators collecting or maintaining             (iii) Having a parent call a toll-free
               (iii) That the online contact              personal information from children           telephone number staffed by trained
            information collected from the child          through the Web site or online service.      personnel;
            will not be used for any other purpose,       Provided that: The operators of a Web           (iv) Having a parent connect to
            disclosed, or combined with any other         site or online service may list the name,    trained personnel via video-conference;
            information collected from the child;         address, phone number, and email                (v) Verifying a parent's identity by
               (iv) That the parent may refuse to         address of one operator who will             checking a form of government-issued
            permit further contact with the child         respond to all inquiries from parents        identification against databases of such
            and require the deletion of the parent's      concerning the operators ' privacy           information , where the parent's
            and child's online contact information,       policies and use of children's               identification is deleted by the operator
            and how the parent can do so;                 information, as long as the names of all     from its records promptly after such
               (v) That if the parent fails to respond    the operators collecting or maintaining      verification is complete; or
            to this direct notice, the operator may       personal information from children              (vi) Provided that, an operator that
            use the online contact information            through the Web site or online service       does not "disclose" (as defined by
            collected from the child for the purpose      are also listed in the notice;               § 312.2) children's personal information,
            stated in the direct notice; and                 (2) A description of what information     may use an email coupled with
               (vi) A hyperlink to the operator's         the operator collects from children,         additional steps to provide assurances
            online notice of its information              including whether the Web site or            that the person providing the consent is
            practices required under paragraph (d)        online service enables a child to make       the parent. Such additional steps
            of this section.                              personal information publicly available;     include: Sending a confirmatory email
               (4) Content of the direct notice to the    how the operator uses such information;      to the parent following receipt of
            parent required under§ 312.S(c)(S)            and, the operator's disclosure practices     consent, or obtaining a postal address or
            (Notice to a Parent In Order to Protect       for such information; and                    telephone number from the parent and
            a Child's Safety). This direct notice shall      (3) That the parent can review or have    confirming the parent's consent by letter
            set forth:                                    deleted the child's personal                 or telephone call. An operator that uses
               (i) That the operator has collected the    information, and refuse to permit            this method must provide notice that
            name and the online contact                   further collection or use of the child's     the parent can revoke any consent given
            information of the child and the parent       information , and state the procedures       in response to the earlier email.
            in order to protect the safety of a child;    for doing so.                                   (3) Safe harbor approval of parental
               (ii) That the information will not be                                                   consent methods. A safe harbor program
            used or disclosed for any purpose             § 312.5   Parental consent.                  approved by the Commission under
            unrelated to the child's safety;                 (a) General requirements. (1) An          § 312.11 may approve its member
               (iii) That the parent may refuse to        operator is required to obtain verifiable    operators ' use of a parental consent
            permit the use, and require the deletion,     parental consent before any collection,      method not currently enumerated in
            of the information collected, and how         use, or disclosure of personal               paragraph (b)(2) of this section where
            the parent can do so;                         information from children, including         the safe harbor program determines that
               (iv) That if the parent fails to respond   consent to any material change in the        such parental consent method meets the
            to this direct notice, the operator may       collection, use, or disclosure practices     requirements of paragraph (b)(l) of this
            use the information for the purpose           to which the parent has previously           section.
            stated in the direct notice; and              consented.                                      (c) Exceptions to prior parental
               (v) A hyperlink to the operator's             (2) An operator must give the parent      consent. Verifiable parental consent is
            online notice of its information              the option to consent to the collection      required prior to any collection, use, or
            practices required under paragraph (d)        and use of the child's personal              disclosure of personal information from
            of this section.                              information without consenting to            a child except as set forth in this
               (d) Notice on the Web site or online       disclosure of his or her personal            paragraph:
            service. In addition to the direct notice     information to third parties.                   (1) Where the sole purpose of
            to the parent, an operator must post a           (b) Methods for verifiable parental       collecting the name or online contact
            prominent and clearly labeled link to an      consent. (1) An operator must make           information of the parent or child is to
            online notice of its information              reasonable efforts to obtain verifiable      provide notice and obtain parental
            practices with regard to children on the      parental consent, taking into                consent under§ 312 .4(c)(1 ). If the
            home or landing page or screen of its         consideration available technology. Any      operator has not obtained parental
            Web site or on line service , and, at each    method to obtain verifiable parental         consent after a reasonable time from the
            area of the Web site or on line service       consent must be reasonably calculated,       date of the information collection, the


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operator must delete such information              (7) Where an operator collects a             § 312.7 Prohibition against conditioning a
from its records;                               persistent identifier and no other              child's participation on collection of
   (2) Where the purpose of collecting a        personal information and such identifier        personal information.
parent's online contact information is to       is used for the sole purpose of providing         An operator is prohibited from
provide voluntary notice to, and                support for Lhlfllflternal operationsi,_1•,,,   conditioning a child's participation in a
subsequently update the parent about,           the Web site or online service. In such         game, the offering of a prize, or another
the child's participation in a Web site or      case, there also shall be no obligation lo      activity on the child's disclosing more
online service that does not otherwise          provide notice und er§ 312.4; or                personal information than is reasonably
collect, use, or disclose children 's              (8) Where an operator covered under          necessary to participate in such activity.
personal information. In such cases, the        paragraph (2) of the definition of Web          § 31 2.8  Confidentiality, security, and
parent's online contact information may         site or online service directed to              integrity of personal information collected
not be used or disclosed for any other          children in § 312.2 collects a persistent       from children.
purpose. In such cases, the operator            identifier and no other personal                  The operator must establish and
must make reasonable efforts, taking            information from a user who                     maintain reasonable procedures to
into consideration available technology,        affirmatively interacts with the operator       protect the confidentiality, security, and
to ensure that the parent receives notice       and whose previous registration with            integrity of personal information
as described in§ 312.4(c)(2);                   that operator indicates that such user is       collected from children. The operator
   (3) Where the sole purpose of                not a child. In such case, there also shall     must also take reasonable steps lo
collecting online contact information           be no obligation lo provide notice under        release children's personal information
from a child is to respond directly on a        §312.4.                                         only to service providers and third
one-time basis to a specific request from                                                       parties who are capable of maintaining
the child, and where such information           § 312.6  Right of parent to review personal
                                                information provided by a child.                the confidentiality, security and
is not used to re-contact the child or for                                                      integrity of such information, and who
any other purpose, is not disclosed , and          (a) Upon request of a parent whose           provide assurances that they will
is deleted by the operator from its             child has provided personal information         maintain the information in such a
records promptly after responding to the        to a Web site or online service, the            manner.
child's request;                                operator of that Web site or online
    (4) Where the purpose of collecting a       service is required to provide to that          § 312.9    Enforcement.
child's and a parent's online contact           parent the following:                             Subject to sections 6503 and 6505 of
information is to respond directly more            (1) A description of the specific types      the Children's Online Privacy Protection
than once to the child's specific request,      or categories of personal information           Act of 1998, a violation of a regulation
and where such information is not used          collected from children by the operator,        prescribed under section 6502 (a) of this
for any other purpose, disclosed, or            such as name, address, telephone                Act shall be treated as a violation of a
combined with any other information             number, email address, hobbies, and             rule defining an unfair or deceptive act
collected from the child. In such cases,        extracurricular activities;                     or practice prescribed under section
the operator must make reasonable                  (2) The opportunity at any time to           18(a)(1)(B) of the Federal Trade
efforts, taking into consideration              refuse to permit the operator's further         Commission Act (15 U.S.C.
available technology, to ensure that the        use or future online collection of              57a(a)(1)(B)).
parent receives notice as described in          personal information from that child,
§ 312.4(c)(3). An operator will not be                                                          §312.10 Data retention and deletion
                                                and to direct the operator to delete the        requirements.
 deemed to have made reasonable efforts         child's personal information; and
to ensure that a parent receives notice                                                           An operator of a Web site or online
                                                   (3) Notwithstanding any other
where the notice to the parent was                                                              service shall retain personal information
                                                provision of law, a means of reviewing
 unable to be delivered;                                                                        collected online from a child for only as
                                                any personal information collected from
    (5) Where the purpose of collecting a                                                       long as is reasonably necessary to fulfill
                                                the child. The means employed by the
 child's and a parent's name and online                                                         the purpose for which the information
                                                operator to carry out this provision
 contact information, is to protect the                                                         was collected. The operator must delete
                                                must:
 safety of a child, and where such                                                              such information using reasonable
                                                    (i) Ensure that the requestor is a
 information is not used or disclosed for                                                       measures to protect against
                                                parent of that child, taking into account
 any purpose unrelated to the child's                                                           unauthorized access lo, or use of, the
                                                available technology; and
 safety. In such cases, the operator must                                                       information in connection with its
                                                    (ii) Not be unduly burdensome lo the        deletion.
 make reasonable efforts, taking into
                                                 parent.
 consideration available technology, to
                                                    (bl Neither an operator nor the             §312.11     Safe harbor programs.
 provide a parent with notice as
 described in § 312.4(c)(4);                     operator's agent shall be held liable            (a) In general. Industry groups or
     (6) Where the purpose of collecting a       under any Federal or State law for any         other persons may apply to the
 child's name and online contact                 disclosure made in good faith and              Commission for approval of self-
 information is to:                              following reasonable procedures in             regulatory program guidelines ("safe
     (i) Protect the security or integrity of    responding to a request for disclosure of      harbor programs") . The application
 its Web site or online service;                 personal information under this section.       shall be filed with the Commission's
     (ii) Take precautions against liability;       (cl Subject to the limitations set forth    Office of the Secretary. The Commission
     (iii) Respond to judicial process; or       in§ 312.7, an operator may terminate           will publish in the Federal Register a
     (iv) To the extent permitted under          any service provided lo a child whose          document seeking public comment on
 other provisions of law, to provide             parent has refused, under paragraph            the application . The Commission shall
 information to law enforcement                  (a)(2) of this section, to permit the          issue a written determination within
 agencies or for an investigation on a           operator's further use or collection of        180 days of the filing of the application.
 matter related lo public safety; and            personal information from his or her              (bl Criteria for approval of self-
 where such information is not be used           child or has directed the operator lo          regulatory program guidelines. Proposed
 for any other purpose;                          delete the child's personal information.       safe harbor progran1s must demonstrate


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that they meet the following                     under paragraphs (b)(2) and (b)(3)           bring an enforcement action against a
performance standards:                           provide effective enforcement of the         subject operator for violations of this
  (1) Program requirements that ensure           requirements of thi s part.                  part, the Commission will take into
operators subject to the self-regulatory            (d) Reporting and recordkeeping           account the history of the subject
program guidelines ("subject          to,,•,.•   requiremenl!l.'\~P roved safe.harbor         operator's participation in the safe
operators") provide substantially the            programs shall:                              harbor program, whether the subject
same or greater protections for children            (1) By Jul y 1, 2014 , and annually       operator has taken action to remedy
as those contained in§§ 312.2 through            thereafter, submit a report to th e          such non-compliance, and whether the
312.8, and 312.10.                               Commission containing, at a minimum,
                                                                                              operator's non-compliance resulted in
  (2) An effective, mandatory                    an aggregated summary of the results of
                                                                                              any one of the disciplinary actions set
mechanism for the independent                    the independent assessments conducted
                                                 under paragraph (b)(2) of this section, a    forth in paragraph (b)(3).
assessment of subject operators '
compliance with the self-regulatory              description of any disciplinary action       §312.12 Voluntary Commission Approval
program guidelines. At a minimum, this           taken against any subject operator under     Processes.
mechanism must include a                         paragraph (b)(3) of this section, and a
comprehensive review by the safe                 description of any approvals of member          (a) Parental consent methods. An
harbor program, to be conducted not              operators' use of a parental consent         interested party may file a written
less than annually, of each subject              mechanism , pursuant to§ 312.5(b)(4);        request for Commission approval of
operator's information policies,                    (2) Promptly respond lo Commission        parental consent methods not currently
practices, and representations. The              requests for additional information; and     enumerated in § 312.5(b). To be
assessment mechanism required under                 (3) Maintain for a period not less than   considered for approval, a party must
this paragraph can be provided by an             three years, and upon request make           provide a detailed description of the
independent enforcement program, such            available to the Commission for              proposed parental consent methods,
as a seal program.                               inspection and copying:                      together with an analysis of how the
   (3) Disciplinary actions for subject             (i) Consumer complaints alleging          methods meet§ 312.5(b)(l). The request
operators ' non-compliance with self-            violations of the guidelines by subject      shall be filed with the Commission 's
regulatory program guidelines. This              operators;                                   Office of the Secretary. The Commission
performance standard may be satisfied               (ii) Records of disciplinary actions
                                                                                              will publish in the Federal Register a
by:                                              taken against subject operators; and
                                                    (iii) Results of the independent          document seeking public comment on
   (i) Mandatory, public reporting of any                                                     the request. The Commission shall issue
action taken against subject operators by        assessments of subject operators '
                                                 compliance required under paragraph          a written determination within 120 days
the industry group issuing the self-                                                          of the filing of the request; and
regulatory guidelines;                           (b)(2) of this section.
   (ii) Consumer redress;                           (el Post-approval modifications to           (b) Support for internal operations of
   (iii) Voluntary payments to the United        self-regulatory program guidelines.          the Web site or online service. An
States Treasury in connection with an            Approved safe harbor programs must           interested party may fi le a written
industry-directed program for violators          submit proposed changes to their             request for Commission approval of
of the self-regulatory guidelines;               guidelines for review and approval by        additional activities to be included
   (iv) Referral to the Commission of            the Commission in the manner required        within the definition of support for
operators who engage in a pattern or             for initial approval of guidelines under     internal operations. To be considered
practice of violating the self-regulatory        paragraph (c)(2) of this section. The        for approval , a party must provide a
guidelines; or                                   statement required under paragraph
                                                                                              detail ed justification why such activities
   (v) Any other equally effective action.       (c)(4) of this section must describe how
                                                                                              should be deemed support for internal
   (cl Request for Commission approval           the proposed changes affect existing
                                                 provisions of the guidelines.                operations, and an analysis of their
of self-regulatory program guidelines. A                                                      potential effects on children's online
proposed safe harbor program's request              (f) Revocation of approval of self-
                                                 regulatory program guidelines. The           privacy. The request shall be filed with
for approval shall be accompanied by
                                                 Commission reserves the right to revoke      the Commission 's Office of the
the following:
   (1) A detailed explanation of the             any approval granted under this section      Secretary. The Commission will publish
applicant's business model, and the              if at any time it determines that the        in the Federal Register a document
technological capabilities and                   approved self-regulatory program             seeking public comment on the request.
mechanisms that will be used for initial         guidelines or their implementation do        The Commission shall issue a written
and continuing assessment of subject             not meet the requirements of this part.      determination within 120 days of the
operators' fitness for membership in the         Safe harbor programs that were               filing of the request.
safe harbor program;                             approved prior to the publication of the
                                                 Final Rule amendments must, by March         § 312.13   Severability.
   (2) A copy of the full text of the
guidelines for which approval is sought          1, 2013, submit proposed modifications         The provisions of this part are
and any accompanying commentary;                 to their guidelines that would bring         separate and severable from one
   (3) A comparison of each provision of         them into compliance with such               another. If any provision is stayed or
§§ 312.2 through 312.8, and 312.10 with          amendments, or their approval shall be       determined to be invalid, it is the
the corresponding provisions of the              revoked.                                     Commission 's intention that the
guidelines; and                                     (g) Operators' participation in a safe
                                                                                              remaining provisions shall continue in
   (4) A statement explaining:                   harbor program. An operator will be
                                                 deemed to be in compliance with the          effect.
   (i) How the self-regulatory program
guidelines, including the applicable             requirements of§§ 312 .2 through 312.8,
assessment mechanisms , meet the                 and 312.10 if that operator complies
requirements of this part; and                   with Commission-approved safe harbor
   (ii) How the assessment mechanisms            program guidelines. In considering
and compliance consequences required             whether to initiate an investigation or


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  By direction of the Commission,                        children. The statute provides, "It is                    information (e.g., content, functionali ty , or
Commissioner Rosch abstaining, and                       unlawful for an operator of a Web site or                 advertising revenue). I find th at this
Commissioner Ohlhausen dissenting.                       online service directed to children, or any               proviso-which would extend COPPA
Donald S. Clark,                                         operator that has actu al knowledge that it is            obligations to entities that do not collect
                                                         collecting personal information from a child ,            personal information from children or have _,,
Secretary.                         .. u\i 1,             to coiled personal information from a child
                                                                                                                                                                            ff
                                                                                                                   access to or control of such information
Dissenting Statement of Commissioner                     in a manner that violates the regulations                 collected by a thi rd-party does not comport
Maureen K. Ohlhausen                                     prescribed [by the FTC]. " 403                            with the plain meaning of the statutory
                                                            The Statement of Basis and Purpose for th e            definiti on of an operator in COPPA, which
   I voted against adopting the am endm ents             amendments (SBP) discusses concerns that
to the Children 's Online Privacy Protection                                                                       covers only entities "on whose behalf such
                                                         th e current COPPA Rule may not cover child-              information is collected and maintained ." 4 os
Act (COPP A) Rule because I believe a core               directed Web sites or services that do not
provision of the amendments exceeds the                                                                            In other words, I do not believe that the fact
                                                         th emselves collect children's personal
scope of the authority granted us by Congress                                                                      that a child-directed site or online service
                                                         information but may incorporate third-party
in COPPA, the statu te that underlies and                plug-ins that collect such information 404 for            receives any kind of benefit from using a
authorizes the Rule. 401 Before I explain my             the plug-ins' use but do not collect or                   plug-in is equivalent to the collection of
concerns, I wish to commend the                          maintain the information for, or share it with,           personal information by th e third-party plug-
Commission staff for their careful                       the child-directed site or service. To address            in on behalf of the child-directed site or
consideration of the multitude of issues                 these concerns, the amendments add a new                  online service.
raised by the numerous comments in this                  proviso to th e definition of operator in th e              As the Supreme Court has directed , an
proceeding. Mu ch of the language of th e                COPPA Rul e: " Personal information is                    agency " must give effect to th e
amendments is designed to preserve                       collected or maintained on behalf of an                   unambiguously expressed intent of
flexibility for the industry while striving to           operator when: (a) it is collected or                     Congress." 407 Thus, regardless of the policy
protect children's privacy, a goal I support             maintained by an agent or service provider of             justifications offered , I cannot support
strongly. The final proposed amendments                  the operator; or (bl the operator benefits by             expanding th e definition of the term
largely strike the right balance between                 allowing another person to collect personal               "operator" beyond the statutory parameters
protecting children's privacy on line and                information directly from users of such Web               set by Congress in COPPA.
avoiding undue burdens on providers of                   site or online service." •os
children's online content and services. The                                                                           I therefore respectfully dissent.
                                                            The proposed amendments construe the                   [FR Doc. 2012-31341 Filed 1-16-13; 8:45 am]
staff's great expertise in the area of children's
                                                         term " on whose behalf such information is
privacy and deep understanding of the values                                                                       BILLING CODE 6750-01-P
                                                         collected and maintained" to reach child-
at stake in this matter have been invaluable
                                                         directed Web sites or services that merely
in my consideration of these important                                                                                4 00 This expanded definition of operator reverses
                                                         derive from a third-party plug-in some kind
issues.                                                                                                            the Commission's previous conclusion that the
   In COPPA Congress defined who is an
                                                         of benefit, which may well be unrelated to
                                                         the collection and use of children's                      appropriate test for determining an entity's status as
operator and thereby set the outer boundary                                                                        an operator is to " look at the entity's relationship
 for the statute's and the COPPA Rule's                                                                            to the data collected ," using factors such as " who
reach .402 It is undisputed that COPPA places               40315 U.S.C. 6502(a)(1).
                                                            404 If the third-party plugs-ins are child-directed    owns and/or controls the information , who pays for
obligations on operators of Web sites or                                                                           its collection and maintenance, the pre-existing
online services directed to children or                  or have actual knowledge that they are collecting
                                                         chHdren 's personal information they are already          contractual relationships regarding collection and
operators with actual knowledge that they are            expressly covered by the COPPA statute. Thus , as         maintenance of the information, and the role of the
 collecting personal information from                    the SBP notes, a behavioral advertising network that      Web site or online service in collecting and/or
                                                         targets children under the age of 13 is already           maintaining th e information (i.e., whether the site
  40115 u.s.c. 6501-6506.                                deemed an operator. The amendment must                    participates in collection or is merely a conduit
  4o2coPPA, 15 U.S.C. 6501(2), define s the term         therefore be aimed at reaching third-party plug-ins       through which the information flows to another
"operator" as " any person who operates a Web site       that are either not child-directed or do not have         entity.) " Children's Online Privacy Protection Rule
located on the Internet or an online service and who     actual knowl edge that they are coll ecting children 's   64 FR 59888 , 59893, 59891 (Nov. 3, 1999) (final
collects or maintains personal information from or       personal information, which raises a questi on about      rule) .
about users of or visitors to such Web site or onlin e   what harm this amendment will address. For
                                                                                                                      4 0 7 Chevron v. Natural Resources Defense
service, or on whose behalf such information is          example, it appears that this same type of harm
collected and maintained * * *" As stated in the         could occur through gen eral audience Web sites           Council, In c. , 467 U.S. 837, 842-43 (1984) (" When
Statement of Basis and Purpose for the original          and online services coll ecting and using visitors'       a court reviews an agency's constru ction of the
COPPA Rule, "Th e defmition of 'operator' is of          personal information without knowing whether              statute which it administers , it is confron ted with
central importance because it determines who is          some of the data is children's personal information ,     two questions. First, always , is the question
covered hy the Act and the Rule." Children 's            which is a practi ce that COPPA and the                   whether Congress has directly spoken to the precise
Online Privacy Protection Rul e 64 FR 59888, 59891       amendments do not prohjbit.                               question at issue. If the intent of Congress is clear,
(Nov. 3, 1999) (final rule).                                4os 15 CFR 312.2 (Definitions).                        that is the end of the matter; for the court, as well
                                                                                                                   as the agency, must give effect to the
                                                                                                                   unambiguously ex pressed intent of Congress.").




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